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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA

                                             )       CASE NO. 2:10-cv-106-LRH-PAL
ORACLE USA, INC., et al.,                    )
                                             )
       Plaintiff(s),                         )       MINUTES OF COURT
                                             )
vs.                                          )       DATE: Monday, September 14, 2015
                                             )
RIMINI STREET, INC., et al.,                 )
                                             )
       Defendant(s).                         )
                                             )

PRESENT: THE HONORABLE LARRY R. HICKS, U.S. DISTRICT JUDGE

Deputy Clerk: Dionna Negrete                         Reporter: Donna Davidson
Counsel for Plaintiff: William Isaacson, Esq., Karen L. Dunn, Esq., Kieran P. Ringgenberg,
Esq., Thomas S. Hixson, Esq., James C. Maroulis, Esq., Richard J. Pocker, Esq., Nitin Jadal,
Esq., John Polito, Esq., Dorian Daley, Esq..
Counsel for Defendant: B. Trent Webb, Esq., West Allen, Esq., Robert H. Reckers, Esq., Peter
E. Strand, Esq.                              .

MINUTES OF JURY TRIAL DAY 1

12:56 p.m. Court convenes. Counsel states their appearances for the record. At the request of the
Court counsel estimate the trial will take approximately 3 – 4 weeks. The Court and counsel
further confer regarding housekeeping matters.

1:03 p.m. Court stands at recess.

1:14 p.m. Court reconvenes in the presence of 46 prospective jurors. The Court makes opening
statements.

Voir dire oath is administered and 15 prospective jurors are seated; voir dire proceeds.

2:45 p.m. Court stands at recess.

3:03 p.m. Court reconvenes. Voir dire continues. Jury is passed for cause.

Counsels exercise peremptory challenges. A jury of 9 is impaneled and sworn. The Court
excuses the remaining prospective jurors.
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IT IS ORDERED that trial is continued to Tuesday, September 15, 2015, at 8:00 a.m. in Las
Vegas Courtroom 4B.

The jury is admonished and excused.

4:30 p.m. Court stands at recess.

4:47 p.m. Court reconvenes outside the presence of the jury. The Court invites counsel to present
arguments regarding the Joint Request for the Court to Rule on Objections to Customer
Deposition Testimony, [#760] and Plaintiffs Oracle USA, Inc., Oracle America, Inc., and Oracle
International Corporation’s Motion to Compel Kevin Maddock to Appear at Trial [#725]. Mr.
Reckers presents argument in support of [#760] on behalf of the defendants; Mr. Hixson
responds on behalf of the plaintiff’s.

IT IS ORDERED that the Joint Request for the Court to Rule on Objections to Customer
Deposition Testimony, [#760] is GRANTED.

IT IS FURTHER ORDERED that the questions as formed are admissible and the Court will give
a limited instruction accordingly. Counsel may submit proposed instructions for the Court’s
consideration.

Mr. Ringgenberg presents argument in support of [#725] on behalf of the plaintiffs; Mr. Reckers
responds on behalf of defendants.

IT IS ORDERED that Plaintiffs Oracle USA, Inc., Oracle America, Inc., and Oracle
International Corporation’s Motion to Compel Kevin Maddock to Appear at Trial, [#725] is
GRANTED.

IT IS FURTHER ORDERED that plaintiff’s counsel shall work with defendant’s counsel to find
a mutually agreeable date for witness Kevin Maddock to appear to testify.

IT IS ORDERED that the Rule of Exclusion is invoked. Counsel stipulates and agrees that the
Rule of Exclusion will not be invoked during opening statements. The Court is in agreement
with the stipulation.

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Counsel informs the Court that a stipulation to admit numerous exhibits is being finalized. The
Court reminds counsel that opening statements will be limited to one hour per side.

5:13 p.m. Court adjourns.
                                                   LANCE S. WILSON, CLERK

                                                   By:     /s/ D. Negrete
                                                          Deputy Clerk
